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                              August 4, 2023


Hon. Deborah S. Hunt
Clerk of Court
United States Court of Appeals for the Sixth Circuit
540 Potter Stewart U.S. Courthouse
100 E. Fifth Street
Cincinnati, Ohio 45202-3988

     RE: FRAP 28(j) citation of supplemental authorities for Timothy
King, et. al., v. Gretchen Whitmer, et. al., No. 21-1786.

Dear Ms. Hunt:

      We write to provide the Court the recent decision of the Seventh
Circuit affirming Chief Judge Pepper's denial of sanctions sought against
counsel by Wisconsin Governor Evers for the election fraud challenge
counsel filed in Wisconsin. The Seventh Circuit agreed that even if the
district court had jurisdiction, sanctions should not have been imposed
pursuant to the Court's inherent authority or under Section 1927.
Specifically, the Circuit writes that “[t]he district court had jurisdiction,
or at least would have had jurisdiction in theory in a sufficiently
compelling case, to impose inherent-authority sanctions even after the
mandate issued, but this is not a case for such sanctions.” (Opinion at 8).
Furthermore, “The district court made clear that it would not have
imposed sanctions under 1927 given the context of the litigation, its quick
resolution, and the legal principles at issue.” (Scudder Concurrence at
10).

      A copy of the opinion can be reviewed at the following link:
https://tinyurl.com/24nmuech.



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                                     Sincerely,

                                     Sidney Powell




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